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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNITED STATES OF AMERICA,
CASE NO. MJ21-640
Plaintiff,

V.

ELAN JOSUE CRUZ CABRERA,

)
)
)
)
)
) DETENTION ORDER
)
)
Defendant. )
)

 

Date of Detention Hearing: December 2, 2021.

 

The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3143, and
based upon the factual findings and statement of reasons for detention hereafter set forth, finds
that no condition or combination of conditions which defendant can meet will reasonably assure
the appearance of defendant as required and the safety of other persons and the community.

FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 

1. Defendant is alleged to have removed his GPS monitor and fled, and therefore
presents a significant risk of flight. Mr. Cruz Cabrera does not contest detention.

2. There does not appear to be any condition or combination of conditions that will

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reasonably assure the defendant’s appearance at future Court hearings while addressing the

danger to other persons or the community.

It is therefore ORDERED:

1. Defendant shall be detained pending appearance in the Northern District of California, and
committed to the custody of the Attorney General for confinement in a correction facility;

2. Defendant shall be afforded reasonable opportunity for private consultation with counsel;

3. On order of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility in which defendant is confined shall deliver the
defendant to a United States Marshal for the purpose of an appearance in connection with a
court proceeding; and

4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel for
the defendant, to the United States Marshal, and to the United States Probation Services
Officer.

DATED this 3% Day of December, 2021.

S. KATE VAUGHAN ~
United States Magistrate Judge

 

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